Case 2:03-cr-20021-SH|\/| Document 195 Filed 07/19/05 Page 1 of 3 Page|D 251

  

IN THE UNITED sTATEs DIsTRICT CoURT FILED ar AY’T,):.€
FoR THE WESTERN DISTRICT oF TENNESSEE
wEsTERN DIvlsIoN 2005 JUL |9 AH ll= 148
UNITED STATES oF AMERICA, ) THQMF+S l.l,_`§r§ 3
) start u.§. ap 1551 x comr c
Plaintiffs, ) WD Gr ll'.-, l=,'it:!.'lrlil§
)
v. ) No. 03-20021 Ma
)
ANTHONY V. BOLDEN, )
)
Defendant. )

 

 

Before the Court is Defendant’s Ex Parte Motion for Leave to Appeal ln Forma Pauperis
filed on May 2, 2005. United States District Judge Samuel H. Mays, Jr. referred this matter to
the Magistrate Judge for determination, and the Court held a hearing on this matter on July 6,
2005 . For the reasons set forth below, the Motion is GRANTED.

Defendant filed an Ex Parte Motion asking the Court to allow him to proceed in forma
pauperis on appeal with respect to all matters except the appointment of counsel.l For good
cause shown, the Motion to Appeal In Forma Pauperis is GRANTED. The Clerl< of the Court

shall proceed with this appeal Without the payment of any fees.

 

]At the hearing, Defendant’s counsel Robert C. Brooks stated that he was unsure whether or not the family
of Defendant would be able to pay his fees associated with this case; therefore, Mr. Brooks requested that the Court
nevertheless appoint him to represent Defendant. The Court refused to appoint Mr. Brooks at the hearing and
instructed Mr. Brooks that he was free to file a motion requesting that the Court appoint him as counsel for
Defendant after he had discussed his retainer with the Defendant’s farnily.

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Thls dochent entered on the docket et ln compliance
with ante 55 and/or 32rb) Fech on _E§'XCLQS_ 95

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Pursuant to the Order of Reference, any objections to this Order shall be made in writing
within ten days after service of this Order and shall set forth with particularity those portions of
the Order objected to and the reasons for those obj ections.

IT IS SO ORDERED.

336/ama Zé:~

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Q¢vé\l /@, 200 \/
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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 195 in
case 2:03-CR-20021 was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

